                                                                                                      Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
  Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 1 of 23 PageID #: 8
EXHIBIT A                                                                      20AA-CC00028

                   IN THE CIRCUIT COURT OF MONTGOMERY COUNTY
                                 STATE OF MISSOURI


  PAMELA KNOX,


                 Plaintiff,                        Case No:
  vs.                                              Division:
  J. GRADY RANDOLPH, INC.,
  and                                              JURY TRIAL DEMANDED
  RANDOLPH DAKIN,
                  Defendants.
  TO BE SERVED:
  J. GRADY RANDOLPH, INC.
  Registered Agent:
  C T Corporation System
  2 Office Park Court, Suite 103
  Columbia, South Carolina 29223

  RANDOLPH DAKIN
  103 Merchant Street
  Greer, South Carolina 29651


                                            PETITION

                                   GENERAL ALLEGATIONS

        1.      Plaintiff Pamela Knox is a resident and citizen of the State of Missouri.

        2.      Upon information and belief, Defendant Randolph Dakin is a resident and citizen

 of the State of South Carolina.

        3.      At all times relevant herein, J. Grady Randolph, Inc., is a South Carolina

 corporation registered with the South Carolina Secretary of State and its registered agent located

 at 2 Office Park Court, Suite 103, Columbia, South Carolina 29223.
                                                                                                     Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
 Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 2 of 23 PageID #: 9




       4.      Defendant J. Grady Randolph, Inc., Inc. owned and/or leased the 2016 International

tractor-trailer being operated by Defendant Randolph Dakin at the time of the collision.

       5.      At all times relevant to this case, Defendant Randolph Dakin was an agent and/or

employee (hereinafter to refer to statutory or otherwise) of Defendant J. Grady Randolph, Inc. and

was acting within the course and scope of his agency and/or employment.

       6.      At the time of the collision referenced in this petition, Defendant

J. Grady Randolph, Inc. was registered with the Federal Motor Carrier Safety Administration as

an interstate commercial motor carrier.

       7.      At all times relevant, Defendant J. Grady Randolph, Inc. was operating as an

interstate commercial motor carrier.

       8.      At all relevant times, Defendant J. Grady Randolph, Inc. was operating as a private

(property) motor carrier.

       9.      At all times relevant, Defendant J. Grady Randolph, Inc. had authority to operate

as a common carrier.

       10.     At all times relevant herein and at the time of this crash, Defendant J. Grady

Randolph, Inc. was a commercial motor carrier engaged in interstate commerce, transporting

goods, including building materials, throughout the United States.

       11.     At all times relevant herein and at the time of this crash, Defendant J. Grady

Randolph, Inc., Inc. was acting individually and through its drivers, agents, servants, joint

venturers, and/or employees, each of whom were acting within the course and scope of their

employment with Defendant J. Grady Randolph, Inc.
                                                                                                       Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
 Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 3 of 23 PageID #: 10




       12.     At all times relevant herein and at the time of this crash, Defendant Randolph Dakin

was operating a tractor-trailer in the course and scope of her employment and agency with

Defendant J. Grady Randolph, Inc., Inc.

       13.     Defendants J. Grady Randolph, Inc. is liable for all acts and omissions of Defendant

Randolph Dakin while she was operating the tractor-trailer within course and scope of employment

and/or agency, under the doctrine of respondeat superior.

       14.     Defendants J. Grady Randolph, Inc., and its agents, servants, employees, and

drivers, including Defendant Randolph Dakin, at all relevant times set forth herein, were subject

to the rules and regulations contained and set forth in Title 49, Code of Federal Regulations

(Federal Motor Carrier Safety Regulations).

       15.     In its relevant parts, the Motor Carrier Safety Regulations define “Motor Carrier”

as a for-hire motor carrier or a private motor carrier; including a motor carrier’s agents, officers

and representatives, as well as employees responsible for hiring, supervising, training, assigning,

or dispatching of drivers and employees concerned with the installation, inspection, and

maintenance of motor vehicle equipment and/or accessories; this definition includes the term

“employer.” 49 C.F.R. §390.5.

       16.     In its relevant parts, the Motor Carrier Safety Regulations define an “Employee” as

any individual, other than an employer, who is employed by an employer and who, in the course

of his or her employment directly, affects commercial motor vehicle safety. “Employee” includes

a driver of a commercial motor vehicle (including an independent contractor while in the course

of operating a commercial motor vehicle). 49 C.F.R. §390.5.
                                                                                                      Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
 Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 4 of 23 PageID #: 11




       17.    At all times relevant to this case, Defendant Randolph Dakin was a driver of the

2016 International tractor-trailer and therefore, an “employee,” as defined by the Motor Carrier

Safety Regulations.

       18.    In its relevant parts, the Motor Carrier Safety Regulations define “Motor Vehicle”

as any vehicle, machine, tractor, trailer, or semi-trailer propelled or drawn by mechanical power

and used upon the highways in the transportation of passengers or property, or any combination

thereof determined by the Federal Motor Carrier Safety Administration. 49 C.F.R. §390.5.

       19.    At all times relevant to this case, the tractor-trailer driven by Defendant Randolph

Dakin was a vehicle used upon the highways for transportation of property and therefore, a “motor

vehicle,” as defined by the Motor Carrier Safety Regulations.

       20.    In its relevant parts, the Motor Carrier Safety Regulations define an “Employer” as

any person engaged in a business affecting interstate commerce that owns or leases a commercial

motor vehicle in connection with that business, or assigns employees to operate it. 49 C.F.R.

§390.5.

       21.    At all times relevant to this case, Defendants J. Grady Randolph, Inc. was an

“employer,” as defined by the Motor Carrier Safety Regulations.

       22.    At all times relevant herein, the State of Missouri has adopted rules and regulations

of the Federal Motor Carrier Safety Regulations through RSMo. 307.400.

       23.    At the time of this incident and at all times herein mentioned, Defendant Randolph

Dakin was operating the 2006 International Harvester tractor-trailer as a driver for Defendant J.

Grady Randolph, Inc.

       24.    On or about August 21, 2018, at approximately 11:17 a.m., Plaintiff was a

passenger in a 2016 Kia Sedona minivan traveling westbound on Interstate 70 near mile marker
                                                                                                        Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
 Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 5 of 23 PageID #: 12




186 in Jonesburg, Montgomery County, Missouri.

       25.     At that time and place, Defendant Dakin was operating the tractor-trailer in the lane

next to the 2016 Kia Sedona minivan.

       26.     At that time and place, Defendant Dakin changed lanes, driving the tractor-trailer

into the side of the vehicle the 2016 Kia Sedona minivan.

       27.     Westbound Interstate 70 at the crash location is a much traveled, open, and publicly

dedicated state roadway and thoroughfare in the Montgomery County, Missouri.

       28.     The crash occurred in Montgomery County and venue is therefore proper.

       29.     At the time of the crash, the truck operated by Defendant Randolph Dakin bore the

name of Defendants J. Grady Randolph, Inc. as well as its DOT number and/or MC (operating

authority) number.

       30.     Plaintiff Pamela Knox suffered and continue to suffer permanent and disabling

injuries as a direct and proximate result of this incident.

       31.     The negligence of Defendant Randolph Dakin, directly and proximately, caused or

contributed to cause injuries to Plaintiff Pamela Knox as described in greater detail herein.

       32.      As a direct and proximate result of this crash and the direct and proximate result of

the negligence of Defendant J. Grady Randolph, Inc., and its agents, servants, and employees,

including Randolph Dakin, Plaintiff Pamela Knox injured her neck, low back, right shoulder and

right hip along with sustaining a traumatic brain injury.

       33.      As a direct and proximate result of this crash and the direct and proximate result of

the negligence of Defendants J. Grady Randolph, Inc., and its agents, servants, and employees,

including Defendant Randolph Dakin, Plaintiff Pamela Knox has suffered pain and suffering and

will continue to suffer pain and suffering.
                                                                                                       Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
 Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 6 of 23 PageID #: 13




       34.     As a direct and proximate result of this crash and the direct and proximate result of

the negligence of Defendants J. Grady Randolph, Inc. and its agents, servants, and employees,

including Defendant Randolph Dakin, Plaintiff Pamela Knox has incurred medical bills in excess

of $50,000.00 and will continue to incur medical expenses related to the treatment of injuries

sustained in the crash.

                                               COUNT I
                      NEGLIGENCE AGAINST DEFENDANT DAKIN

       COMES NOW Plaintiff Pamela Knox and repeats, incorporates, and re-alleges each and

every paragraph and sub-paragraph set forth above in the General Allegations as if they were set

forth herein at length against Defendant Randolph Dakin and further states:

       35.     At the time of this crash, Defendant Dakin negligently operated the tractor-trailer

that caused this incident on the above stated date and time by:



               a)         Failing to keep a proper lookout;

               b)      Failing to take proper remedial action which could have
avoided this collision or minimized the impact;

               c)         Failing to reduce speed to avoid a collision;

              d)          Operating the tractor-trailer without adequate training
and experience;

               e)         Operating the tractor-trailer when not properly qualified to do so;

               f)         Driving while tired and/or fatigued;

               g)         Driving while under the unsafe side-effects of prescription medication;

               h)         Driving overly aggressive;


               i)         Failing to stop his tractor-trailer, slacken his speed, swerve or sound a
                                                                                                        Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
 Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 7 of 23 PageID #: 14




       warning in an attempt to avoid colliding with the vehicle in which Plaintiff was a
       passenger, when he could and should have done in so in the exercise of the highest
       degree of reasonable care

       36.     At least one of the negligent acts or omissions by Defendant Dakin, as described

in the above paragraphs and the below paragraphs, was a direct and proximate cause of the crash

in question and the resulting injuries to Plaintiff Pamela Knox.

       37.     As a direct and proximate result of the negligence of Defendant Dakin, Plaintiff

Pamela Knox was seriously injured as described herein and has sustained damages, pain and

suffering and will sustain damages, pain and suffering in the future.

       38.     Defendant Dakin knew or should have known that his conduct as described herein

created a high degree of probability of injury.

       39.     Defendant Dakin was not properly qualified to operate the tractor-trailer and did

not have the required training and experience and was operating in violation of the law and this

behavior and conduct was reckless and shows a complete indifference and conscious disregard

for the safety of the motoring public, so as to entitle Plaintiff Pamela Knox to Aggravated

(punitive) Damages.

       40.     The operation of the tractor-trailer by Defendant Dakin and the manner in which

it was operated on the public roadways, was willful, wanton, and reckless, and shows complete

indifference and conscious disregard for the safety of the motoring public, so as to entitle

Plaintiff Pamela Knox to Aggravated (punitive) Damages.

       41.     The conduct of Defendant Dakin as described herein, specifically including

violations of pertinent rules of the road and the Federal Motor Carrier Safety Regulations as

listed within this Petition, as well as other acts and omissions of as described herein, was willful,
                                                                                                   Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
 Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 8 of 23 PageID #: 15




wanton, and reckless, and shows complete indifference and conscious disregard for the safety of

the motoring public, so as to entitle Plaintiff Pamela Knox to Aggravated (punitive) Damages.

       WHEREFORE Plaintiff Pamela Knox prays for judgment against Defendant Randolph

Dakin in a sum in excess of Twenty-Five Thousand Dollars ($25,000) exclusive of costs and

interest, as is fair and reasonable to compensate plaintiff for her injuries, plus aggravated

(punitive) damages, and for such other relief this Court deems just and proper under the

circumstances.




   COUNT II - STATUTORY EMPLOYMENT/LOGO/LEASE LIABILITY AGAINST
                         DEFENDANT J. GRADY RANDOLPH, INC.


       COMES NOW Plaintiff Pamela Knox and repeats, incorporates, and re-alleges each and

every paragraph and sub-paragraph set forth above as if they were set forth herein at length

against Defendant J. Grady Randolph, Inc. and further states:

       42.       Based upon all aforementioned allegations, Defendant J. Grady Randolph, Inc. is

vicariously liable for the negligence of Defendant Dakin based upon the doctrines of statutory

employment, logo, and/or lease liability.

       WHEREFORE Plaintiff Pamela Knox prays for judgment against Defendant J. Grady

Randolph, Inc. in a sum in excess of Twenty-Five Thousand Dollars ($25,000) exclusive of

costs and interest, as is fair and reasonable to compensate plaintiff for her injuries, plus

aggravated (punitive) damages, and for such other relief this Court deems just and proper under

the circumstances.
                                                                                                  Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
 Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 9 of 23 PageID #: 16




                       COUNT III – VICARIOUS LIABILITY AGAINST
                         DEFENDANT J. GRADY RANDOLPH, INC.


       COMES NOW Plaintiff Pamela Knox and repeats, incorporates, and re-alleges each and

every paragraph and sub-paragraph set forth above as if they were set forth herein at length

against Defendant J. Grady Randolph, Inc. and further states:

       43.     At all times relevant, Defendant Dakin was acting in the course and scope of his

agency and/or employment with Defendant J. Grady Randolph, Inc.

       44.     Based upon the prior allegations, Defendant J. Grady Randolph, Inc. is

vicariously liable for the negligence of Defendant Dakin based upon the doctrines of agency and

respondeat superior.

       WHEREFORE Plaintiff Pamela Knox and prays for judgment against Defendant J.

Grady Randolph, Inc. in a sum in excess of Twenty-Five Thousand Dollars ($25,000) exclusive

of costs and interest, as is fair and reasonable to compensate plaintiff for her injuries, plus

aggravated (punitive) damages, and for such other relief this Court deems just and proper under

the circumstances.




                  COUNT IV – INDEPENDENT NEGLIGENCE AGAINST
                         DEFENDANT J. GRADY RANDOLPH, INC.

       COMES NOW Plaintiff Pamela Knox and repeats, incorporates, and re-alleges each and

every paragraph and sub-paragraph set forth above as if they were set forth herein at length

against Defendant J. Grady Randolph, Inc. and further states:

       45.     At all times relevant, Defendant J. Grady Randolph, Inc. was operating as an
                                                                                                    Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 10 of 23 PageID #: 17




interstate motor carrier pursuant to authority granted to it by the U.S. Department of

Transportation.

       46.      Throughout its existence, Defendant J. Grady Randolph, Inc. has, or should have

been, aware of the existence of the Federal Motor Carrier Safety Regulations.

       47.      As an interstate motor carrier, Defendant J. Grady Randolph, Inc. has a duty, to

follow and comply with the Federal Motor Carrier Safety Regulations.

       48.      The various safety regulations included within Parts 390 – 397, of which

Defendant J. Grady Randolph, Inc. had a duty to follow, include, but are not limited to, the

following:

             a. Defendant J. Grady Randolph, Inc. had an independent duty to require observance

                by its drivers of any duty or prohibition imposed upon the drivers by the Federal

                Motor Carrier Safety Regulations. 49 C.F.R. §390.11;

             b. Defendant J. Grady Randolph, Inc. had a duty to not require or permit a driver,

                including Defendant Dakin, to operate a commercial motor vehicle, while the

                driver’s ability or alertness is so impaired, or so likely to become impaired,

                through fatigue, illness, or any other cause, as to make it unsafe for him/her to

                begin or continue to operate the commercial motor vehicle. 49 C.F.R. §392.3;

             c. Defendant J. Grady Randolph, Inc. had a duty to not allow or permit a driver,

                including Defendant Dakin, to operate a commercial motor vehicle unless that

                person is qualified to drive a commercial motor vehicle. 49 C.F.R. §391.11.;

             d. Defendant J. Grady Randolph, Inc. had an independent duty not to aid, abet,

                encourage or require any of its employees to violate the safety regulations
                                                                                                 Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 11 of 23 PageID #: 18




           contained within Chapter 390. 490 C.F.R. §390.13;

        e. Defendant J. Grady Randolph, Inc. had an independent duty to prohibit its

           employees from driving a commercial vehicle unless the employee had first

           completed and furnished to Defendant J. Grady Randolph, Inc. an application for

           employment that meets the requirements as set forth in 49 C.F.R. §391.21(b);

        f. Defendant J. Grady Randolph, Inc. had an independent duty to make

           investigations and inquiries with respect to each driver it employs and to do so in

           the manner prescribed in 49 C.F.R. §391.23;

        g. Defendant J. Grady Randolph, Inc. had an independent duty to obtain the motor

           vehicle record of every driver it employs, including Defendant Dakin, at least

           once every twelve months in determine whether that driver continues to meet the

           minimum requirements for safe driving or is disqualified to drive a commercial

           motor vehicle. 49 C.F.R. §391.25;

        h. Defendant J. Grady Randolph, Inc. had an independent duty require each of its

           drivers, including Defendant Dakin, to furnish it with a list of all violations of

           motor vehicle traffic laws and ordinances of which he/she has been convicted in

           the preceding 12 months. 49 C.F.R. §391.27;

        i. Defendant J. Grady Randolph, Inc. had an independent duty to prohibit its

           employees, including Defendant Dakin, from driving until the driver had

           successfully completed a road test and been issued a certificate of driver’s road

           test. 40. C.F.R. §391.31;

        j. Defendant J. Grady Randolph, Inc. had an independent duty to ensure that its
                                                                                                       Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 12 of 23 PageID #: 19




                drivers, including Defendant Dakin, were physically qualified to operate a

                commercial motor vehicle and that its drivers had undergone the necessary

                examinations in the required timeframes as set forth within the Federal Motor

                Carrier Safety Regulations. 40 C.F.R. §391 – Subpart E; and

             k. Defendant J. Grady Randolph, Inc. had an independent duty to inspect, repair, and

                maintain, all of the motor vehicles subject to its control, including the motor

                vehicle operated by Defendant Dakin on the day of the aforementioned crash, and

                to ensure that the motor vehicle and all of its parts and accessories were in proper

                operating condition at all times, including at the time of the aforementioned crash.

                40 C.F.R. §396.3.

       49.      That Defendant J. Grady Randolph, Inc. had a duty to comply with the Federal

Motor Carrier Safety Regulations including the specific aforementioned regulations.

       50.      That it is customary standard in the motor carrier industry to have in place an

adequate safety program administered by competent and adequately trained safety personnel to

ensure that the motor carrier and its drivers are adhering to the Federal Motor Carrier Safety

Regulations, including but not limited the specifically aforementioned regulations.

       51.      That, at all times prior to the aforementioned collision, Defendant J. Grady

Randolph, Inc. failed to have in place an adequate safety program.

       52.      As a result of its inadequate and/or inexistent safety program, Defendant J. Grady

Randolph, Inc. violated numerous Federal Motor Carrier Safety Regulations including, but not

limited to the specifically aforementioned regulations prior to the aforementioned collision

involving Plaintiff Pamela Knox.

       53.      As a result of its inadequate and/or inexistent safety program, Defendant J. Grady
                                                                                                    Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 13 of 23 PageID #: 20




Randolph, Inc. allowed its drivers, including Defendant Dakin, to violate numerous Federal

Motor Carrier Safety Regulations including, but not limited to the specifically aforementioned

regulations prior to the aforementioned collision involving Plaintiff Pamela Knox.

       54.     That Defendant J. Grady Randolph’s violation of numerous Federal Motor Carrier

Safety Regulations, including the specifically aforementioned regulations created a danger to the

health, welfare, and safety of the motoring public, including Plaintiff Pamela Knox.

       55.     Defendant J. Grady Randolph, Inc. was thereby negligent in that it failed to

implement an adequate safety program and it violated numerous Federal Motor Carrier Safety

Regulations, including but not limited to the specifically aforementioned regulations.

       56.     Defendant J. Grady Randolph, Inc. was thereby negligent in that it failed to

implement an adequate safety program and it failed to ensure that its agents, employees and

drivers, including Defendant Dakin, complied with the Federal Motor Carrier Safety

Regulations, including but not limited to the specifically aforementioned regulations.

       57.     As a direct and proximate result of the independent negligence of Defendant J.

Grady Randolph, Plaintiff was injured and sustained damages and will continue to be damaged

in the manners previously described in this Petition.

       58.     Defendant J. Grady Randolph, Inc. knew or had information from which they, in

the exercise of ordinary care, could have known that such conduct as described herein created a

high degree of probability of injury to the motoring public such as Plaintiff Pamela Knox.

       59.     The conduct of Defendant J. Grady Randolph, Inc. as described herein,

specifically including violations of Missouri state law and the various Federal Motor Carrier

Safety Regulations was willful, wanton, and reckless, and shows complete indifference and

conscious disregard for the safety of the motoring public, so as to entitle Plaintiff Pamela Knox
                                                                                                      Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 14 of 23 PageID #: 21




Aggravated (punitive) Damages.

          60.   Because of Defendant J. Grady Randolph’s willful, wanton, and reckless

behavior, and for their indifference and conscious disregard for the safety of the motoring public,

aggravated (punitive) damages are appropriate in this action in order to punish Defendant J.

Grady Randolph, Inc. and to deter others from similar conduct.

          61.   Defendant J. Grady Randolph’s reckless and intentional behavior, and their

complete indifference and conscious disregard for the safety of the motoring public, directly and

proximately caused the wreck and the resulting injuries to Plaintiff Pamela Knox described

herein.

          WHEREFORE Plaintiff Pamela Knox and prays for judgment against Defendant J.

Grady Randolph, Inc. in a sum in excess of Twenty-Five Thousand Dollars ($25,000) exclusive

of costs and interest, as is fair and reasonable to compensate plaintiff for her injuries, plus

aggravated (punitive) damages, and for such other relief this Court deems just and proper under

the circumstances.




COUNT V – DIRECT NEGLIGENCE AGAINST DEFENDANT J. GRADY RANDOLPH,
                  INC. BASED UPON NEGLIGENT HIRING/RETENTION

          COMES NOW Plaintiff Pamela Knox and repeats, incorporates, and re-alleges each and

every paragraph and sub-paragraph set forth above as if they were fully incorporated in this

count and further states:

          62.   At all times prior to the aforementioned collision, Defendant J. Grady Randolph,

Inc. had a duty, imposed by law and regulation, to diligently and adequately screen potential

drivers to the extent mandated by the Federal Motor Carrier Safety Regulations.
                                                                                                      Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 15 of 23 PageID #: 22




       63.     Such duties include, but are not limited to:

               a)      To obtain a completed employment application before permitting an agent,

       servant, and/or employee drive its commercial motor vehicle. 49 C.F.R. §391.21;

               b)      To investigate the agents, servants, and/or employee's driver's employment

       record during the preceding three years by all reasonable means. 49 C.F.R.

       §§391.23(a)(2), 391.23(c);

               c)      To inquire into the agent's, servant's, and/or employee's driving record

       within 30 days after employment begins. 49 C.F.R. §391.23(a);

               d)      To require a successfully completed road test before commencing

       employment, and permitting the applicant, agent, servant, and/or employee to drive a

       commercial motor vehicle. 49 C.F.R. §391.31(a);

               e)      To investigate the driver’s safety performance history with Department of

       Transportation regulated employer during the preceding three years. 49 C.F.R.

       §391.23(2);

               f)      Ensure that its driver was physically qualified to operate a tractor-trailer

       and had a valid and current DOT medical examiner’s certificate. 49 C.F.R. §391.41; and

               g)      Ensure that its driver had no current diagnosis of high blood pressure

       likely to interfere with the ability to operate a commercial motor vehicle safely. 49

       C.F.R. §391.41(b)(6).

       64.     Defendant J. Grady Randolph, Inc. had a duty to comply with all of the above and

below listed Laws, Federal Regulations, Codes, and/or Missouri Statutes, so as to protect the

general public, including the Plaintiff Pamela Knox, from the unsafe operation of commercial

motor vehicles by its drivers.
                                                                                                       Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 16 of 23 PageID #: 23




        65.      Defendant Dakin was unqualified to operate a commercial motor vehicle due to

his driving history, inexperience, lack of skill, lack of training, lack of knowledge, and physical

medical condition.

        66.      That, because of Defendant Dakin’s aforementioned inadequacies, Defendant J.

Grady Randolph, Inc. should not have hired him to operate a commercial motor vehicle.

        67.      That Defendant J. Grady Randolph, Inc. knew, or through the exercise of ordinary

care should have known that Defendant Dakin was unqualified to safely operate a commercial

motor vehicle.

        68.      That by failing to properly and adequately screen and investigate its drivers,

including Defendant Dakin, before and during employment, Defendant J. Grady Randolph, Inc.

violated numerous Federal Motor Carrier Safety Regulations, including but not limited to those

specifically identified in this count.

        69.      Had Defendant J. Grady Randolph, Inc. obeyed the Federal Motor Carrier Safety

Regulations, including but not limited to those specifically identified in this count, it could have

learned that Defendant Dakin was unqualified to safely operate a commercial motor vehicle.

        70.      Defendant Dakin’s negligent actions on the day of the collision with Plaintiff

were consistent with, related to, and a product of his aforementioned inadequacies in operating a

commercial motor vehicle.

        71.      Defendant J. Grady Randolph’s actions and omissions in hiring Defendant Dakin,

including their violations of the Federal Motor Carrier Safety Regulations, was the proximate

cause of the injuries and damages sustained by Plaintiff Pamela Knox resulting from the

aforementioned motor vehicle collision.

        72.      Defendant J. Grady Randolph’s actions and omissions in hiring Defendant Dakin,
                                                                                                   Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 17 of 23 PageID #: 24




including their violations of the Federal Motor Carrier Safety Regulations were willful, wanton,

and reckless, and demonstrated a complete indifference and conscious disregard for the law and

for the safety of others, including Plaintiff Pamela Knox.

        73.     Defendant J. Grady Randolph’s willful, wanton, and reckless behavior evidenced

a complete indifference and conscious disregard for the safety of the motoring public and

aggravated (punitive) damages are appropriate in this action in order to punish Defendant J.

Grady Randolph, Inc. and to deter others from similar conduct.

        WHEREFORE Plaintiff Pamela Knox prays for judgment against Defendant J. Grady

Randolph, Inc. in a sum in excess of Twenty-Five Thousand Dollars ($25,000) exclusive of

costs and interest, as is fair and reasonable to compensate plaintiff for her injuries, plus

aggravated (punitive) damages, and for such other relief this Court deems just and proper under

the circumstances.




        COUNT VI – DIRECT NEGLIGENCE AGAINST DEFENDANT J. GRADY
      RANDOLPH, INC. TRUCKING CO. BASED UPON NEGLIGENT TRAINING

        COMES NOW Plaintiff Pamela Knox and repeats, incorporates, and re-alleges each and

every paragraph and sub-paragraph set forth above as if they were fully incorporated in this

count and further states:

        74.     Defendant J. Grady Randolph, Inc. owed the general public, including Plaintiff

Pamela Knox, a duty to properly train its drivers, including Defendant Dakin, on the safe

operation of a tractor-trailer.

        75.     Defendant J. Grady Randolph, Inc. failed to properly instruct Defendant Dakin on

the safe operation of a tractor-trailer.
                                                                                                   Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 18 of 23 PageID #: 25




       76.     Defendant J. Grady Randolph, Inc. owed the general public, including Plaintiff

Pamela Knox, a duty to properly train its drivers, including Defendant Dakin, on the safety

regulations set forth in the Federal Motor Carrier Safety Regulations.

       77.     At all times prior to the aforementioned collision, Defendant J. Grady Randolph,

Inc. had a duty, imposed by law and regulation, to diligently and adequately screen potential

drivers to the extent mandated by the Federal Motor Carrier Safety Regulations.

       78.     Such duties include, but are not limited to:

               a)     To require and verify that its drivers pass a knowledge and skills test as

       prescribed by the Federal Motor Carrier Safety Regulations. 49 C.F.R. §380.109 and 49

       C.F.R. §380.509;

               b)     To train its drivers on the Federal Motor Carrier Safety Regulations

       pertaining to medical certification, medical examination procedures, general

       qualifications, responsibilities, and disqualifications. 49 C.F.R. §380.503;

               c)     To ensure that its drivers have been properly trained and to show proof

       of that training with a training certificate. 49 C.F.R. §380.505;

       79.     Defendant J. Grady Randolph, Inc. had a duty to properly instruct its drivers,

including Defendant Dakin on the rules as regulations as contained in Part 392 of the Federal

Motor Carrier Safety Regulations which pertain to the safe operation of a commercial motor

vehicle.

       80.     Defendant J. Grady Randolph, Inc. failed to properly instruct Defendant Dakin

on the Federal Motor Carrier Safety Regulations, including those specifically referenced in

this count.

       81.     Defendant J. Grady Randolph, Inc. owed the general public, including Plaintiff
                                                                                                  Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 19 of 23 PageID #: 26




Pamela Knox, a duty to provide ongoing safety courses to its drivers, including Defendant

Dakin.

         82.   Defendant J. Grady Randolph, Inc. failed to provide adequate continuing

safety courses to Defendant Dakin.

         83.   Defendant J. Grady Randolph, Inc. had a duty to comply with all of the above

and below listed duties, so as to protect the general public, including the Plaintiff Pamela

Knox, from the unsafe operation of commercial motor vehicles by its drivers.

         84.   Defendant J. Grady Randolph, Inc. breached its duty to the general public,

including the Plaintiff Pamela Knox, by its failing to properly train Defendant Dakin,

Defendant J. Grady Randolph’s tractor-trailer driver, who was unqualified, incompetent and

should not have been permitted to operate a tractor-trailer.

         85.   Based on Defendant Dakin’s driving history, inadequate experience, and

training, Defendant J. Grady Randolph, Inc. knew or had information from which defendant,

in the exercise of ordinary care, should have known, that its driver operating its vehicle

created a high degree of probability of injury to other persons operating or traveling in motor

vehicles on public roads, streets and highways.

         86.   That Defendant J. Grady Randolph, Inc. was negligent in failing to properly

train its drivers, including Defendant Dakin, on the safe operation of a commercial motor

vehicle and the Federal Motor Carrier Safety Regulations.

         87.   That Defendant J. Grady Randolph, Inc. was negligent in failing to provide

continuing education on the safe operation of a commercial motor vehicle and on the Federal

Motor Carrier Safety Regulations.

         88.   That Defendant Dakin’s aforementioned negligent actions and/or inactions
                                                                                                   Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 20 of 23 PageID #: 27




were consistent with the fact that Defendant J. Grady Randolph, Inc. failed to properly train

him in the safe operation of a commercial motor vehicle and/or the adherence to the Federal

Motor Carrier Safety Regulations.

        89.     These actions and omissions of Defendant J. Grady Randolph, Inc. relating to

this crash were willful, wanton, and reckless, and demonstrated a complete indifference and

conscious disregard for the law and for the safety of others, including Plaintiff Pamela Knox.

        90.     Defendant J. Grady Randolph’s willful, wanton, and reckless behavior, and for

its complete indifference and conscious disregard for the safety of the motoring public,

aggravated (punitive) damages are appropriate in this action in order to punish Defendant and

to deter others from similar conduct.

        91.     Plaintiff’s injuries were directly and proximately caused by Defendant J.

Grady Randolph’s breach of and failure to comply with its duty to properly train Defendant

Dakin, its tractor-trailer driver.


        WHEREFORE Plaintiff Pamela Knox prays for judgment against Defendant J. Grady

Randolph, Inc. in a sum in excess of Twenty-Five Thousand Dollars ($25,000) exclusive of

costs and interest, as is fair and reasonable to compensate plaintiffs for her injuries, plus

aggravated (punitive) damages, and for such other relief this Court deems just and proper under

the circumstances.




       COUNT VIII – DIRECT NEGLIGENCE AGAINST DEFENDANT J. GRADY
   RANDOLPH, INC. TRUCKING CO. BASED UPON NEGLIGENT SUPERVISION

        COMES NOW Plaintiff and repeats, incorporates, and re-alleges each and every

paragraph and sub-paragraph set forth above as if they were fully incorporated in this count and
                                                                                                    Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 21 of 23 PageID #: 28




further states:


        92.       Defendant J. Grady Randolph, Inc. owed the general public, including

Plaintiffs, a duty to continuously evaluate its drivers’ performance, including through

supervision, and to discharge an incompetent or unsafe driver before he/she injured the public

or property.

        93.       Defendant J. Grady Randolph, Inc. had a duty to not require or permit a driver,

including Defendant Dakin, to operate a commercial motor vehicle, while the driver’s ability

or alertness is so impaired, or so likely to become impaired, through fatigue, illness, or any

other cause, as to make it unsafe for him/her to begin or continue to operate the commercial

motor vehicle. 49 C.F.R. §392.3.

        94.       Defendant J. Grady Randolph, Inc. had a duty to inquire into the motor vehicle

record of its drivers and give “great weight” to violations such as speeding or reckless driving.

49 C.F.R. §391.25.

        95.       Defendant J. Grady Randolph, Inc. had a duty to ensure that its drivers were

continuously physically qualified to safely operate a tractor-trailer. 49 C.F.R. §391.41, 391.43.

        96.       Defendant J. Grady Randolph, Inc. had a duty to maintain a driver qualification

file for each driver it employs. 49 C.F.R. §391.51

        97.       Defendant J. Grady Randolph, Inc. had a duty to maintain a driver investigation

history file for each driver it employs. 49 C.F.R. §391.53.

        98.       Defendant J. Grady Randolph, Inc. had a duty to not allow or permit its on-duty

drivers to be possession of drugs as listed in 49 C.F.R. §392.4(a).

        99.       Defendant J. Grady Randolph, Inc. had a duty to not schedule a run, nor permit,

nor require the operation of any commercial motor vehicle between points in such a period of
                                                                                                     Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 22 of 23 PageID #: 29




time as would necessitate the commercial vehicle being operated at speeds greater than those

prescribed by law. 49 C.F.R. §392.6.

        100.      Defendant J. Grady Randolph, Inc. had a duty to comply with all of the above

and below listed duties, Rules, Regulations and codes, so as to protect the general public,

including the Plaintiff Pamela Knox, from the unsafe operation of commercial motor vehicles

by its drivers.

        101.      Defendant J. Grady Randolph, Inc. breached its above listing duties to the

general public, including the Plaintiff Pamela Knox, by its failing to properly supervise

Defendant Dakin, Defendant J. Grady Randolph’s tractor-trailer driver, who was unqualified,

incompetent and should have been discharged prior to this crash.

        102.      Based on Defendant Dakin’s driving history, lack of supervision and continued

retention by his employer, Defendant J. Grady Randolph, Inc. knew or had information from

which defendant, in the exercise of ordinary care, should have known, that its driver operating

its vehicle created a high degree of probability of injury to other persons operating or traveling

in motor vehicles on public roads, streets and highways.

        103.      These actions and omissions of Defendant J. Grady Randolph, Inc. relating to

this crash were willful, wanton, and reckless, and demonstrated a complete indifference and

conscious disregard for the law and for the safety of others, including Plaintiff Pamela Knox.

        104.      Defendant J. Grady Randolph’s willful, wanton, and reckless behavior, and for

its complete indifference and conscious disregard for the safety of the motoring public,

aggravated (punitive) damages are appropriate in this action in order to punish Defendant and

to deter others from similar conduct.

        105.      Plaintiff Pamela Knox’s injuries were directly and proximately caused by
                                                                                                  Electronically Filed - Montgomery Circuit - August 27, 2020 - 06:53 PM
Case: 4:21-cv-01045-UNA Doc. #: 1-2 Filed: 08/20/21 Page: 23 of 23 PageID #: 30




Defendant J. Grady Randolph’s breach of and failure to comply with its duty to properly train

Defendant Dakin, its tractor-trailer driver.


       WHEREFORE Plaintiff Pamela Knox prays for judgment against Defendant J. Grady

Randolph, Inc. in a sum in excess of Twenty-Five Thousand Dollars ($25,000) exclusive of

costs and interest, as is fair and reasonable to compensate plaintiff for her injuries, plus

aggravated (punitive) damages, and for such other relief this Court deems just and proper under

the circumstances.

                                                       Respectfully submitted,


                                                       SCHULTZ & MYERS, LLC

                                                       /s/ Deme Sotiriou
                                                       ___________________________
                                                       Deme E. Sotiriou, MO #56611
                                                       Joshua P. Myers, MO #56541
                                                       999 Executive Parkway Drive
                                                       Suite 205
                                                       St. Louis, Missouri 63141
                                                       Telephone: 314-744-8900
                                                       Facsimile: 314-720-0744
                                                       E-mail: deme@schultzmyers.com
